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 Counsel for UG2 Solon OH, LLC

                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY

 In re:                                           Chapter 11

 BED BATH & BEYOND, INC., et al.,                   Case No. 23-13359 (VFP)

                       Debtors.                     (Jointly Administered)



          UG2 SOLON OH, LP’S LIMITED OBJECTION TO NOTICE TO CONTRACT
          PARTIES TO POTENTIALLY ASSUMED EXECUTORY CONTRACTS AND
                                UNEXPIRED LEASES

 UG2 Solon OH, LP (“UG2”), by and through its undersigned counsel, hereby files its limited

 objection to the Notice to Contract Parties to Potentially Assumed Executory Contracts and

 Unexpired Leases [Doc. No. 714] (hereinafter referred to as “Lease Notice”).
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                                                BACKGROUND

     1.      On April 23, 2023, the above-captioned debtors (collectively, the “Debtors”) filed

             voluntary petitions for reorganization pursuant to Chapter 11 of Title 11 of the United

             States Bankruptcy Code (“the Bankruptcy Code”).1

     2.      Since April 23, 2023, the Debtors have continued to manage their properties and operate

             their businesses as debtors-in-possession pursuant to §§1107 and 1108 of the

             Bankruptcy Code.

     3.      UG2 is the owner of certain nonresidential real estate known as Uptown Solon Shopping

             Center in Solon, Ohio (the “Property”).

     4.      On July 15, 1998, UG2’s predecessor-in-interest, Developers Diversified Realty

             Corporation, an Ohio Corporation, as Landlord, entered into a Lease Agreement (the

             “Lease”) with Bed Bath & Beyond of Solon Inc., as Tenant, which assigned all of its

             right, title and interest as Tenant to Bed Bath & Beyond Inc. (“Bed Bath”), one of the

             debtors, for the rental of approximately 40,000 square feet of store area at the Property

             (“the Leased Premises”). A copy of the Lease and its subsequent amendments in 1998,

             2009, 2013, 2014 and 2015 are attached hereto and made a part hereof as “Exhibit A.”

     5.      The Property is a “shopping center” within the meaning of § 365(b)(3) of the

             Bankruptcy Code.

     6.      On May 25, 2023, the Debtors filed the Notice of Lease Auction and Potential Lease

             Sale Hearing [Doc. No. 456], objections to which are due by July 11, 2023.




 1
   A complete list of the Debtors in these Chapter 11 cases and each such Debtors’ tax identification number may be
 obtained on the website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bby.
 The location of Debtor Bed Bath & Beyond Inc.’s principal place of business and Debtor’s service address in these
 Chapter 11 cases is 640 Liberty Avenue, Union, New Jersey 07083.
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   7.    On June 13, 2023, the Debtors filed the Lease Notice. The Lease Notice states that the

         deadline to object to cure amounts stated therein is June 26, 2023.

   8.    UG2 reserves its right to object to the proposed assignment to the Successful Bidder of

         the Lease, as notified in Doc. No. 456 in accordance with the deadline set by the Court.

   9.    UG2 herein objects to the cure amount as stated by the Debtors the Lease Notice, at

         page 40, line 11 in which no cure amount was proposed.

   10.   As of the date of this Objection, the aggregate amount of unpaid monetary obligations

         due to UG2 is not less than $153,573.79.

                                     RELIEF REQUESTED

   11.   Debtors’ failure to include a cure amount grossly misrepresents the outstanding rent and

         other charges due by Bed Bath under the Lease.

   12.   The lack of a cure amount does not accurately reflect all amounts required to be paid to

         cure all defaults and compensate the Landlord for all pecuniary losses sustained as a

         result of the defaults under the Lease. Bankruptcy Code §§ 365(b) and 365(f) govern

         the financial obligations of Trustee or debtor-in-possession that seeks to assume and/or

         assume and assign a lease. As a condition of such assumption by Bed Bath here, Bed

         Bath must, among other requirements:

                   A. Cure or provide adequate assurances that it will promptly cure such

                     default and;

                   B. Compensate or provide adequate assurance that it will promptly

                     compensate a party other than the debtor to such contract or lease, for any

                     actual pecuniary loss to such party resulting from default.
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   13.   Bed Bath has failed to comply with the requirements of Bankruptcy Code §365 (b)(1)

         and 365(f)(2) by failing to correctly state or propose the actual pecuniary loss to be

         suffered by the Landlord as a result of the defaults in the lease and by failing to provide

         adequate assurance of the curing of such default.

   14.   Until such time as Bed Bath complies with the applicable provisions of the Bankruptcy

         Code, it can neither assume nor assign the Lease.

   15.   The amount necessary to compensate the Landlord, as of June 1, 2023, is $153,573.79

         (the “Cure Amount”) including unpaid rent, unpaid additional rent inclusive of the Bed

         Bath’s required payment of its share of real estate taxes, insurance, and operating

         expenses. This amount does not include attorneys’ fee incurred to cure any defaults,

         which UG2 has the right to recover under Section 48 of the Lease. A ledger representing

         the Cure Amount under the Lease as of June 1, 2023, is attached hereto as “Exhibit B.”

   16.   Moreover, Bed Bath remains obligated to UG2 for additional sums under the Lease,

         including but not limited to future rent, real property taxes, insurance and related

         charges, which either will come due after the date of this Objection or for which the

         actual amount due will not be known until a future date after the anticipated date of

         assumption (or assumption and assignment.)

   17.   UG2 reserves the right to supplement and amend as necessary this objection to 1) reflect

         additional amounts which may become due prior to the date of the proposed assumption

         and 2) address the issue of adequate assurance once the “Successful Bidder” for the

         Lease is identified.

   18.   UG2 specifically reserves its right to object to any other relief sought by the Debtors in

         connection with the assumption (or assumption and assignment) of the Lease.
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    Wherefore, UG2 requests that assumption of the Lease be conditioned upon 1) payment of the

 Cure Amount specified in Exhibit B; 2) identification of the Successful Bidder and proof as

 required of adequate assurance of future performance by such Successfully Bidder; 3) compliance

 with Bankruptcy Code §Section 365 (b)(3) and 4) payment of attorneys’ fees as allowed under the

 Lease and such further relief as the Court may find to be appropriate under the circumstances.

 Once these conditions have been met, UG2 requests the entry of an order granting the relief

 described herein, together with such other and further relief as is just and proper.

 Dated: June 23, 2023

                                               FAEGRE DRINKER BIDDLE & REATH LLP
                                               Attorneys for UG2 Solon OH, LP

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                                 CERTIFICATE OF SERVICE


        The undersigned hereby certifies that the foregoing “UG2 Solon OH, LP’s Limited

 Objection to Notice to Contract Parties to Potentially Assumed Executory Contracts

 and Unexpired Leases” has been filed electronically on this 23rd day of June, 2023. Notice

 of this filing will be sent to all parties by operation of the Court’s electronic filing system.

 Parties may access this filing through the Court’s system.

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